          Case 1:21-cr-00285-JEB Document 49 Filed 01/23/23 Page 1 of 2




                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                      :
                                              :
               v.                             :
                                              :       Case No.: 21-cr-285
DAMON BECKLEY,                                :

               Defendant.                     :

                        NOTICE OF SUBSTITUTION OF COUNSEL

       The United States of America, by and through its attorney, the United States Attorney for

the District of Columbia, informs the Court that Assistant United States Attorney Julie Bessler will

be substituting for former Assistant United States Attorney Joseph McFarlane in the above-

captioned matter.



                                                      Respectfully submitted,

DATED: January 23, 2023                               MATTHEW M. GRAVES
                                                      United States Attorney
                                                      D.C. Bar No. 481052

                                                      By:    By: /s/ Julie Bessler

                                                      JULIE BESSLER
                                                      PA Bar No.328887
                                                      Assistant United States Attorney
                                                      United States Attorney’s Office
                                                      601 D Street N.W.
                                                      Washington, D.C. 20001
                                                      Julie.Bessler@usdoj.gov




                                                  1
         Case 1:21-cr-00285-JEB Document 49 Filed 01/23/23 Page 2 of 2




                                CERTIFICATE OF SERVICE

       On this 23rd day of January 2023, a copy of the foregoing was served upon all parties listed

on the Electronic Case Filing (ECF) System.


                                                     By:    By: /s/ Julie Bessler

                                                     JULIE BESSLER
                                                     PA Bar No.328887
                                                     Assistant United States Attorney
                                                     United States Attorney’s Office
                                                     601 D Street N.W.
                                                     Washington, D.C. 20001
                                                     Julie.Bessler@usdoj.gov




                                                2
